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MINUTE ENTRY
AFRICK, J.
January 16, 2014
JS-10 00:20
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES ET AL.                                                              CIVIL ACTION

                                                                                        No. 12-859
VERSUS                                                                                  c/w 12-138
                                                                                      REF: 12-859

MARLIN GUSMAN ET AL.                                                                   SECTION I


                                              ORDER

       A status conference was held on this date with the following individuals participating by

telephone:

                                          Blake J. Arcuri
                                           Sharon Brett
                                            Laura Coon
                                       Elizabeth Cumming
                                            Kerry Dean
                                          Margo Frasier
                                        Susan McCampbell
                                           Cory Sanders
                                 Katharine Murphy Schwartzmann
                                         Michael Tidwell
                                            Jerry Ursin
                                        Sharonda Williams


       The Court was advised that the Sheriff of Orleans Parish (“Sheriff”) and the City of New

Orleans (“City”) are engaging in negotiations to ensure adequate funding for the remainder of the

fiscal year, including compliance with the Consent Judgment. The Court was further advised that,

in light of these negotiations, neither the City nor the Sheriff foresees a budgetary shortfall in the

next 10 weeks. When asked to provide a conservative estimate, the City and the Sheriff agreed that
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they should reach an agreement within 2 weeks.

       The Court advised the parties that any agreement between the Sheriff and the City could be

subject to challenge by the Plaintiff Class and the United States of America if the agreement did not

provide for adequate funding to implement the Consent Judgment.

       The Court proposed that the Sheriff and the City split the costs associated with the design,

implementation, and validation of a classification system. The Sheriff and the City agreed to do so.

       IT IS ORDERED that a status conference is scheduled for Thursday, January 30, 2014,

at 7:30 a.m. for the purpose of advising the Court and the other parties of the details of any

agreement reached by the City and the Sheriff. Counsel may participate by telephone if the Court

is provided with a telephone number two business days in advance.

       IT IS FURTHER ORDERED that, with the consent of the parties, on or before

Wednesday, January 22, 2014, the Sheriff and the City shall each provide $25,000.00 for the

purpose of paying the costs associated with designing, implementing, and validating a classification

system. These funds shall be segregated in an account, established and maintained by the Sheriff,

that will be used solely for expenses and reimbursements related to the design, implementation, and

validation of a classification system.

       IT IS FURTHER ORDERED that funds may only be disbursed from this account with the

prior concurrence of the Sheriff and the City. The parties shall immediately inform the Court of any

disagreement over a potential disbursement.

       IT IS FURTHER ORDERED that the Court reserves ruling on the proper disposition of

any funds that remain in the account after the design, implementation, and validation of a

classification system. The Court also reserves ruling on which party or parties will be responsible


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for providing any additional funds that may be needed to design, implement, and validate the

classification system, notwithstanding the preliminary estimate of $50,000.

       IT IS FURTHER ORDERED that each of the parties, the Monitor, and the Court shall have

the ability to review any account activity.



       New Orleans, Louisiana, January 16, 2014.




                                                       ___________________________________
                                                             LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE




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